      Case 7:23-cr-00599 Document 1 Filed on 04/18/23 in TXSD Page 1 of 2                                   72
                                                                               United States Courts
                                                                             Southern District of Texas
                           UNITED STATES DISTRICT COURT                               FILED
                            SOUTHERN DISTRICT OF TEXAS
                                                                                  April 18, 2023
                                 McALLEN DIVISION
                                                                           Nathan Ochsner, Clerk of Court
UNITED STATES OF AMERICA                        '
                                                '
v.                                              '   Criminal No.           M-23-599
                                                '
RODOLFO ALANIS                                  '

                                   SEALED INDICTMENT

THE GRAND JURY CHARGES:

                                           Count One

       On or about April 7, 2022, within the special aircraft jurisdiction of the United States,

namely while on board a flight which originated in the Southern District of Texas, defendant,

                                     RODOLFO ALANIS

did knowingly engage in and cause sexual contact with E.F.M.G., who was at the time in official

detention and under the custodial, supervisory, and disciplinary authority of the defendant who

was employed by Southwest Key, a facility in which unaccompanied minors are held in custody

by direction of or pursuant to a contract or agreement with the United States Department of Health

and Human Services.

       In violation of Title 18, United States Code, Section 2244(a)(4), and Title 49, United

States Code, Section 46506.

                                          Count Two

       On or about May 2, 2022, within the special aircraft jurisdiction of the United States,

namely while on board a flight which originated in the Southern District of Texas, defendant,

                                     RODOLFO ALANIS

did knowingly engage in and cause sexual contact with C.O.C.F., who was at the time in official

detention and under the custodial, supervisory, and disciplinary authority of the defendant who

was employed by Southwest Key, a facility in which unaccompanied minors are held in custody
      Case 7:23-cr-00599 Document 1 Filed on 04/18/23 in TXSD Page 2 of 2


by direction of or pursuant to a contract or agreement with the United States Department of Health

and Human Services.

       In violation of Title 18, United States Code, Section 2244(a)(4), and Title 49, United

States Code, Section 46506.

                                          Count Three

       On or about May 6, 2022, within the special aircraft jurisdiction of the United States,

namely while on board a flight which originated in the Southern District of Texas, defendant,

                                     RODOLFO ALANIS

did knowingly engage in and cause sexual contact with R.A.L., who was at the time in official

detention and under the custodial, supervisory, and disciplinary authority of the defendant who

was employed by Southwest Key, a facility in which unaccompanied minors are held in custody

by direction of or pursuant to a contract or agreement with the United States Department of Health

and Human Services.

       In violation of Title 18, United States Code, Section 2244(a)(4), and Title 49, United

States Code, Section 46506.

                                                    A TRUE BILL




                                                    FOREPERSON

ALAMDAR S. HAMDANI
UNITED STATES ATTORNEY




ASSISTANT UNITED STATES ATTORNEY
